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    6
           Attorneys for Plaintiff Construction Laborers Trust Funds
    7      For Southern California Administrative Company, LLC
    8                               UNITED STATES DISTRICT COURT
    9                              CENTRAL DISTRICT OF CALIFORNIA
  10

  11 CONSTRUCTION LABORERS TRUST                            CASE NO.:
     FUNDS FOR SOUTHERN CALIFORNIA
  12 ADMINISTRATIVE COMPANY, a                              COMPLAINT FOR:
     Delaware limited liability company,
  13                                                        1. MONETARY DAMAGES DUE TO
                                                               EMPLOYEE BENEFIT PLANS;
  14
                               Plaintiff,                   2. INJUNCTIVE RELIEF
  15                                                           COMPELLING SUBMISSION OF
                  v.                                           FRINGE BENEFIT
  16                                                           CONTRIBUTIONS TO
                                                               EMPLOYEE BENEFIT PLANS;
  17       TRIMMING LAND CO., INC., a
           California corporation; BASILIO                  3. DAMAGES FOR BREACH OF
  18       MARTINEZ, an individual also known as               FIDUCIARY DUTIES;
           BASILIO MARTINEZ SERRANO and/or
  19       BASILIO SERRANO MARTINEZ;                        4. MONETARY DAMAGES FOR
           AMERICAN CONTRACTORS                                BREACH OF SETTLEMENT
  20       INDEMNITY COMPANY, a California                     AGREEMENT;
           corporation; DOE 1 through DOE 5,
  21       inclusive,                                       5. FOR RECOVERY AGAINST
                                                               LICENSE BOND
  22
                               Defendants.                  [29 U.S.C. §§ 1132(g)(2) and 1145;
  23                                                        29 U.S.C. § 1132(a)(3); 29 U.S.C.
                                                            § 185; 28 U.S.C. § 1367(a)]
  24

  25              Plaintiff alleges as follows:
  26
  27                                        JURISDICTION AND VENUE
  28             1.     This action is brought by a fiduciary administrator on behalf of employee
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    1      benefit plans against an employer in accordance with the terms and conditions of the
    2      plans, collective bargaining agreements to which the employer is bound and applicable
    3      statutes to: (a) recover unpaid monthly employee fringe benefit contributions and related
    4      damages due to the plans by the employer (Claim 1); (b) compel the employer to timely
    5      and fully report and pay its monthly fringe benefit contributions to the plans on behalf of
    6      its employees (Claim 2); (c) recover against the principals of employers for breaches of
    7      fiduciary duty to the plans (Claim 3); (d) recover against the employer and its principal
    8      for breach in the terms of a settlement agreement (Claim 4); and for (e) recover against
    9      the employer’s license bond surety (Claim 5). This Court has jurisdiction over Claims 1,
  10       through 3 pursuant to: sections 502(g)(2) and 515 of the Employee Retirement Income
  11       Security Act (ERISA) (codified at 29 U.S.C. §§ 1132(g)(2) and 1145); section 502(a)(3)
  12       of ERISA (codified at 29 U.S.C. § 1132(a)(3)); and section 301 of the Labor
  13       Management Relations Act (LMRA) (codified at 29 U.S.C. § 185), and supplemental
  14       jurisdiction over Claims 4 and 5 pursuant to 28 U.S.C. § 1367(a). Pursuant to section
  15       502(e)(2) of ERISA (codified at 29 U.S.C. § 1132(e)(2)), venue is proper in this district
  16       for each of the following reasons: the plans are administered in this district; the
  17       employer's performance and breach took place in this district; and the employer resides
  18       or may be found in this district.
  19

  20                                                PARTIES
  21             2.      Plaintiff CONSTRUCTION LABORERS TRUST FUNDS FOR
  22       SOUTHERN CALIFORNIA ADMINISTRATIVE COMPANY (“Plaintiff” and/or
  23       "CLTF") is a Delaware limited liability company, with its principal place of business in
  24       this District. CLTF is the administrator and agent for collection of several employee
  25       benefit plans, and a fiduciary as to those plans, including the Laborers Health and
  26       Welfare Trust Fund for Southern California; Construction Laborers Pension Trust for
  27       Southern California; Construction Laborers Vacation Trust for Southern California;
  28       Laborers Training and Re-Training Trust Fund for Southern California; Fund for
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    1      Construction Industry Advancement; Center for Contract Compliance; Laborers
    2      Contract Administration Trust Fund for Southern California; Laborers' Trusts
    3      Administrative Trust Fund for Southern California; and Southern California Partnership
    4      for Jobs Trust Fund (collectively "TRUST FUNDS"). Each are express trusts and were
    5      created by written agreements and are employee benefit plans within the meaning of
    6      ERISA § 3(3), 29 U.S.C. § 1002(3) and multi-employer plans within the meaning of
    7      ERISA § 3(37)(A), 29 U.S.C. § 1002(37)(A). The TRUST FUNDS are jointly-managed
    8      trusts in accordance with LMRA § 302(c)(5), 29 U.S.C. § 186(c)(5), created pursuant to
    9      collective bargaining agreements between the Southern California District Council of
  10       Laborers and its Affiliated Locals, ("UNION") and various employers. The TRUST
  11       FUNDS are administered in the County of Los Angeles, State of California. Plaintiff
  12       brings this action as a fiduciary on behalf of the TRUST FUNDS.
  13             3.      CLTF is a fiduciary as to the TRUST FUNDS, in that it:
  14                     A.     Exercises discretionary authority or discretionary control respecting
  15              the collection of delinquent (or possibly delinquent) contributions to the TRUST
  16              FUNDS, including but not limited to discretion in auditing employers, deciding
  17              what claims to assert, acting as agent of the TRUST FUNDS in asserting claims,
  18              waiving liquidated damages, settling claims, and releasing claims; and
  19                     B.     Exercises authority or control respecting management or disposition
  20              of assets of the TRUST FUNDS, including but not limited to, receiving
  21              delinquent contributions collected and holding them in a bank account in its own
  22              name over which it has check-writing authority, and then exercising discretion in
  23              allocating those assets among the different TRUST FUNDS, different
  24              participants, different time periods and different jobs.
  25             4.      Plaintiff is informed and believes and thereon alleges that Defendant,
  26       TRIMMING LAND CO., INC. ("EMPLOYER"), is a corporation organized and
  27       existing under and by virtue of the laws of the State of California and is and/or was
  28       engaged in business in the State of California with its principal place of business in the
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    1      City of South Gate, County of Los Angeles, State of California and does, or at all
    2      relevant times did, business in the State of California as a construction contractor in an
    3      industry affecting interstate commerce. .
    4             5.     Plaintiff is informed and believes and thereon alleges that Defendant,
    5      BASILIO MARTINEZ, also known as BASILIO MARTINEZ SERRANO and/or
    6      BASILIO SERRANO MARTINEZ (hereinafter referred to as “MARTINEZ”) is the
    7      principal, beneficial owner and responsible managing officer of EMPLOYER and
    8      resides and is engaged in business in the County of Los Angeles, State of California.
    9             6.     Plaintiff is informed and believes that is informed and believes, and on that
  10       basis alleges, that Defendant AMERICAN CONTRACTORS INDEMNITY
  11       COMPANY, ("ACIC") is a California corporation that is licensed and authorized to
  12       perform and transact a surety business in the State of California, which has a principal
  13       place of business in the City of Los Angeles, State of California and which does, or at all
  14       relevant times did, conduct business in California as a surety.
  15              7.     The true names and capacities, whether individual, corporate, associate,
  16       otherwise of Defendants named herein as DOE 1 through DOE 5, inclusive are unknown
  17       to Plaintiff, who therefore sue said Defendants by such fictitious names, and Plaintiff
  18       will amend this Complaint to show their true names and capacities when the same have
  19       been ascertained.
  20                                             OTHERS
  21              8.     The Southern California District Council of Laborers and its affiliated
  22       Local Unions (collectively "UNION") is, and at all relevant times was, a labor
  23       organization representing employees affecting interstate commerce. The UNION is not
  24       a party to this action.
  25                                  INDIVIDIUAL DEFENDANT
  26              9.       Plaintiff is informed and believes and thereon alleges that at all times
  27       material herein, that MARTINEZ, and or DOE 1 through DOE 5, inclusive, were and/or
  28       continue to be fiduciaries and/or parties in interest to the TRUST FUNDS as defined in
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    1      29 U.S.C. §§ 1002(14), and 1002(21)(A), for the reasons more fully described below and
    2      in the Third Claim for Relief.
    3            10.    Plaintiff is informed and believes and thereon alleges that MARTINEZ,
    4      and or DOE 1 through DOE 5, inclusive are responsible for running the day to day
    5      operations of EMPLOYER and are responsible for decisions pertaining to the reporting
    6      and payment of contributions to the TRUST FUNDS, and that they personally
    7      maintained control of those funds which should have been turned over to the TRUST
    8      FUNDS.
    9            11.    Plaintiff is informed and believes and thereon alleges that at all times
  10       herein, MARTINEZ, and or DOE 1 through DOE 5, inclusive are the majority
  11       shareholders of EMPLOYER and beneficial owners of EMPLOYER.
  12             12.    Plaintiff is informed and believes and thereon alleges that MARTINEZ,
  13       and or DOE 1 through DOE 5, inclusive acted on behalf of and in the interest of
  14       EMPLOYER in all aspects of labor relations and in EMPLOYER’s dealings and
  15       relations with the TRUST FUNDS and the UNION.
  16             13.    Plaintiff is informed and believes and thereon alleges that MARTINEZ and
  17       DOE 1 through DOE 5, inclusive, acted on behalf of EMPLOYER and in the interest of
  18       EMPLOYER, in determining which employees EMPLOYER would report to the
  19       TRUST FUNDS, the number hours upon which contributions would be reported to the
  20       TRUST FUNDS, and payments to be made on behalf of EMPLOYER.
  21

  22                                    FIRST CLAIM FOR RELIEF
  23                       CONTRIBUTIONS OWED TO THE TRUST FUNDS
  24                                        (AGAINST EMPLOYER)
  25                                        [29 U.S.C. §§ 185 and 1145]
  26
  27             14.    Plaintiff repeats and realleges and incorporates herein by reference each
  28       and every allegation contained in paragraphs 1 through 13 above.
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    1                                            AGREEMENTS
    2            15.     At all times mentioned, EMPLOYER was and continues to be signatory to
    3      written Collective Bargaining Agreements with the UNION, having executed a
    4      Landscape Maintenance Agreement effective February 1, 2019 (“Landscape
    5      Agreement”) with the Southern California District Council of Laborers and its
    6      affiliated Local Unions (“UNION”).
    7            16.     The Landscape Agreement incorporates by reference the UNION’S
    8      existing Master Labor Agreements (“MLAs”) covering any landscape construction or
    9      other construction work covered by said MLAs.
  10             17.     EMPLOYER has been and continues to be bound by the Landscape
  11       Agreement and MLAs relating to its work on projects covered by said Agreements.
  12       Pursuant to the Landscape Agreement and MLAs, EMPLOYER became obligated to all
  13       the terms and conditions of the various Trust Agreements which created each of the
  14       TRUST FUNDS as they may be constituted in their original form or as they may be
  15       subsequently amended. The referenced Agreements will be collectively referred to as
  16       "AGREEMENTS".
  17             18.     The AGREEMENTS obligate EMPLOYER to pay fringe benefit
  18       contributions at the rates set forth in the AGREEMENTS for each hour worked (or paid
  19       for) by employees performing services covered by the AGREEMENTS ("MONTHLY
  20       CONTRIBUTIONS"). The EMPLOYER is additionally required to submit reports on a
  21       monthly basis ("MONTHLY REPORTS") with these MONTHLY CONTRIBUTIONS,
  22       detailing the name, address, social security number and hours worked that month for
  23       each employee covered by the AGREEMENTS and those MONTHLY REPORTS are
  24       required to be submitted even where there are no employees to report for the reporting
  25       period. The TRUST FUNDS depend on the truth and accuracy of this information, in
  26       order to not only determine the correct amount of MONTHLY CONTRIBUTIONS due,
  27       but to fulfill their own fiduciary duties to properly credit participants towards the
  28       benefits provided by the TRUST FUNDS. Those MONTHLY CONTRIBUTIONS
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    1      constitute assets of the TRUST FUNDS, pursuant to the terms of the AGREEMENTS
    2      and applicable law, from the time they are due and can be reasonably segregated from
    3      other funds. The Trustees of the TRUST FUNDS have a fiduciary duty to marshal
    4      those assets so that they may be applied for the benefit of the participants and
    5      beneficiaries in accordance with the various Trust Agreements.
    6            19.     By the AGREEMENTS and pursuant to 29 U.S.C. § 1132(g)(2)(C),
    7      EMPLOYER is obligated to pay to the TRUST FUNDS, as and for liquidated damages
    8      for detriment caused by the failure of EMPLOYER to pay fringe benefit MONTHLY
    9      CONTRIBUTIONS in a timely manner, a sum equal to $25.00 or twenty percent (20%)
  10       of the unpaid MONTHLY CONTRIBUTIONS or interest on the unpaid MONTHLY
  11       CONTRIBUTIONS at rates established pursuant to the AGREEMENTS from their
  12       respective due dates, whichever is the greater amount, for each of the TRUST FUNDS to
  13       which EMPLOYER is required to contribute.
  14             20.     By the AGREEMENTS and pursuant to 29 U.S.C. § 1132(g)(2)(B),
  15       EMPLOYER is obligated for payment of interest on delinquent MONTHLY
  16       CONTRIBUTIONS from the due date of the contribution through the payment date of
  17       the contribution, at the per annum rate of five percent (5%) over the rate set by the
  18       Federal Reserve Board at San Francisco, California, effective on the date each
  19       contribution is due. The current plan rate of interest on the MONTHLY
  20       CONTRIBUTIONS is 7.250% per annum.
  21             21.     The AGREEMENTS obligate EMPLOYER, and any of its subcontractors
  22       or lower-tiered subcontractors, to subcontract work covered under the Agreements to
  23       those subcontractors who are parties to Collective Bargaining Agreements with the
  24       UNION, and failure to do so will result in damages to the TRUST FUNDS and
  25       EMPLOYER will be financially obligated to the TRUST FUNDS for the damages
  26       caused therefrom, including amounts measured by the fringe benefit contributions,
  27       liquidated damages, and interest that would be owed by the subcontractor if signatory to
  28       the AGREEMENT.
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    1            22.     The AGREEMENTS further provide that if EMPLOYER subcontracts
    2      work to and/or if its subcontractor(s) or lower-tiered subcontractors, subcontracts work
    3      covered under the AGREEMENTS to any subcontractor who is delinquent in its
    4      obligations to the TRUST FUNDS under its AGREEMENTS, then EMPLOYER will be
    5      financially obligated to the TRUST FUNDS for the amounts owed by said delinquent
    6      subcontractor, including any fringe benefits, liquidated damages and interest owed.
    7            23.     The AGREEMENTS provide the TRUST FUNDS with specific authority
    8      to examine and copy all of EMPLOYER’s payroll and business records which may be
    9      pertinent to determining whether EMPLOYER has reported all hours worked (or paid
  10       for) by employees who perform services covered under the AGREEMENTS and has
  11       paid the appropriate MONTHLY CONTRIBUTIONS to the TRUST FUNDS, and that
  12       the EMPLOYER shall be responsible for the costs of such audit.
  13

  14                                     BREACH OF AGREEMENTS
  15             24.     Plaintiff is informed and believes and based on such information and belief
  16       alleges that EMPLOYER employed workers who performed services covered by the
  17       AGREEMENTS and failed to pay the rates specified in the AGREEMENTS to certain
  18       TRUST FUNDS on behalf of those workers for each hour worked (or paid for) by
  19       employees performing services covered by the AGREEMENTS. Due to EMPLOYER’s
  20       refusal or failure to comply with the submission and payment of all MONTHLY
  21       REPORTS, and continuing obligation to submit MONTHLY REPORTS, additional
  22       amounts may be discovered and become due and owing by EMPLOYER which cannot
  23       ascertained at this time. Said amounts will be established by proof at the trial or other
  24       hearing.
  25             25.     All conditions to EMPLOYER’s obligations to make payments under the
  26       AGREEMENTS have been met.
  27       ///
  28       ///
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    1                                               DAMAGES
    2            26.     As a result of EMPLOYER’s failure to pay the rates specified in the
    3      AGREEMENTS, Plaintiff is informed and believes and thereupon alleges that there is
    4      now owing and unpaid to certain TRUST FUNDS from EMPLOYER, during the period
    5      from February 2019 through November 2019, damages in the sum of at least $95,516.73
    6      consisting of $47,808.96 in unpaid MONTHLY CONTRIBUTIONS, $43,577.07 in
    7      liquidated damages, $1,000.00 in audit fees, $70.00 in returned check fees, and
    8      $3,060.70 in interest on the late and/or unpaid MONTHLY CONTRIBUTIONS owed to
    9      the TRUST FUNDS through January 20, 2020, plus additional accrued interest at the
  10       plan rate(s), currently 7.25% per annum, until payment of the MONTHLY
  11       CONTRIBUTIONS, as well as any additional MONTHLY CONTRIBUTIONS,
  12       subcontracting violations, liquidated damages, audit fees and interest on the additional
  13       amounts owed at the plan rate(s) according to proof at the time of trial or other hearing.
  14             27.     The failure of the EMPLOYER to pay MONTHLY CONTRIBUTIONS
  15       when due causes harm to the TRUST FUNDS and its participants, which is impractical
  16       to accurately quantify. This may include the cost of collecting the MONTHLY
  17       CONTRIBUTIONS from the EMPLOYER or third parties (not including the costs of
  18       this litigation), the cost of special processing to restore benefit credits because of late
  19       MONTHLY CONTRIBUTIONS, the temporary loss of insurance coverage by
  20       employees (even if later restored) and medical harm to participants and beneficiaries
  21       who may have foregone medical care when notified that medical insurance ceased
  22       because of their employer's failure to pay MONTHLY CONTRIBUTIONS. The
  23       liquidated damages provision of the AGREEMENTS was meant to compensate for this
  24       unquantifiable loss, and is based on the ratio of collection costs over amounts collected,
  25       regularly reported to the Trustees. The Trustees of the TRUST FUNDS have the
  26       authority, in their discretion, to waive all or part of these liquidated damages. In this
  27       case, they have exercised their discretion by declining to waive any liquidated damages.
  28             28.     It has been necessary for the TRUST FUNDS to engage counsel to bring
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    1      this action to compel compliance with the AGREEMENTS which provide that in the
    2      event litigation is necessary with respect to any of the fringe benefit MONTHLY
    3      CONTRIBUTIONS and/or damages against EMPLOYER, then EMPLOYER would pay
    4      reasonable attorney's fees and all other reasonable expenses of collection, including audit
    5      fees.
    6              29.   Under Sections 515 and 502(g) of ERISA, EMPLOYER is liable to the
    7      TRUST FUNDS not only for the amount of delinquent MONTHLY CONTRIBUTIONS
    8      but also (a) for pre-judgment and post-judgment interest on the delinquent sums (as
    9      provided for in Section 502(g) of ERISA); (b) for the higher of interest or liquidated
  10       damages (as provided for in Section 502(g) of ERISA); (c) for attorneys' fees; and (d)
  11       for other relief permitted by Section 502(g) of ERISA.
  12

  13                                   SECOND CLAIM FOR RELIEF
  14                 FOR PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF
  15          (AGAINST EMPLOYER, MARTINEZ AND DOE 1 TO DOE 5, INCLUSIVE)
  16

  17               30.   Plaintiff repeats, realleges, and incorporates by reference each and every
  18       allegation contained in paragraphs 1 through 29, inclusive as though fully set forth
  19       herein.
  20               31.   As part of its obligations under the AGREEMENTS, EMPLOYER is
  21       required to submit MONTHLY REPORTS to the TRUST FUNDS indicating the names,
  22       social security numbers and number of hours worked by each laborer it employed.
  23       EMPLOYER is required to pay to the TRUST FUNDS, at the time the report is
  24       submitted, an amount equal to the total number of laborers hours worked (or paid for),
  25       multiplied by the applicable fringe benefit contribution rates.
  26               32.   EMPLOYER has failed to comply with the provisions of the
  27       AGREEMENTS since it became bound to the AGREEMENTS, in that it has submitted
  28       MONTHLY REPORTS since February 2019 without full payment or no payment
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    1      whatsoever, has failed to submit its MONTHLY REPORT for December 2019, and the
    2      audit of its records has disclosed hours worked by employees which were required to be
    3      reported and MONTHLY CONTRIBUTIONS paid to the TRUST FUNDS, but were
    4      neither reported nor were the MONTHLY CONTRIBUTIONS paid by EMPLOYER for
    5      those hours worked.
    6            33.     By reason of EMPLOYER's and MARTINEZ’s and/or DOE 1’s through
    7      DOE 5’s actions, the TRUST FUNDS have suffered and will continue to suffer extreme
    8      hardship and actual and impending irreparable injury and damage in that employee
    9      beneficiaries of the TRUST FUNDS acquire eligibility for health and welfare benefits
  10       and pension benefits by tabulating the number of hours reported by EMPLOYER and all
  11       contributing employers during each monthly period. The funds necessary to pay all
  12       anticipated health and welfare claims and pension claims based upon the number of
  13       hours reported to the TRUST FUNDS on behalf of individual employees. In addition,
  14       the amount of MONTHLY CONTRIBUTIONS payable to all employees for health and
  15       welfare and pension claims is actuarially determined on the basis of funds projected to
  16       be received from contributing employers. The submission of MONTHLY REPORTS
  17       from EMPLOYER without the required payments necessarily contributes to the total
  18       potential liability of the TRUST FUNDS for health and welfare and pension claims
  19       without the TRUST FUNDS being able to readjust or recompute benefit levels based
  20       upon EMPLOYER’s failure to pay contributions on a monthly basis.
  21             34.     Sections 502(a)(3) and 502(g)(2)(E) of ERISA, 29 U.S.C. §§ 1132(a)(3)
  22       and 1132(g)(2)(E), specifically authorizes this Court to enter injunctive relief for such
  23       violations of the plan and ERISA. Injunctive relief is appropriate here to require the
  24       EMPLOYER to fulfill its obligations under the AGREEMENTS and ERISA.
  25             35.     It has been necessary for Plaintiff to engage counsel to bring this action to
  26       compel compliance with the AGREEMENTS provide that in the event litigation is
  27       necessary with respect to any of the fringe benefit contributions and/or damages,
  28       EMPLOYER would pay reasonable attorneys' fees and all other reasonable expenses of
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    1      collection, including audit fees.
    2

    3                                   THIRD CLAIM FOR RELIEF
    4                      DAMAGES FOR BREACH OF FIDUCIARY DUTIES
    5                                     IN VIOLATION OF ERISA
    6           (AGAINST EMPLOYER, MARTINEZ AND DOE 1 THROUGH DOE 5)
    7

    8            36.     Plaintiff repeats and realleges and incorporates herein by reference each
    9      and every allegation contained in paragraphs 1 through 35 above.
  10             37.     Plaintiff is informed and believes and thereon alleges that MARTINEZ
  11       and/or DOE 1 to DOE 5, inclusive, were and still are parties in interest, the agents,
  12       managing officers, directors, managing employees, and/or beneficial owners of
  13       EMPLOYER with the authority to direct, control, and/or manage the business affairs of
  14       EMPLOYER including the disposition of EMPLOYER’s assets.
  15             38.     Plaintiff is informed and believes and thereon allege that EMPLOYER,
  16       MARTINEZ and/or DOE 1 to DOE 5, inclusive, were and still are fiduciaries with
  17       respect to the TRUST FUNDS within the meaning of § 3(21)(A) of ERISA, 29 U.S.C.
  18       § 1002(21)(A), in that they exercised discretionary authority or control respecting
  19       management or disposition of assets of the TRUST FUNDS.
  20             39.     The AGREEMENTS require that EMPLOYER deduct MONTHLY
  21       CONTRIBUTIONS due to the CONSTRUCTION LABORERS VACATION TRUST
  22       FUND FOR SOUTHERN CALIFORNIA ("VACATION FUND") from EMPLOYER’s
  23       employees' weekly paychecks, in the amounts specified. Such deductions are "amounts
  24       that a participant has withheld from his wages by an employer, for contribution" to the
  25       TRUST FUNDS, which thus become assets of the TRUST FUNDS within the meaning
  26       of 29 C.F.R. § 2510.3-102, "as of the earliest date on which such contributions . . . can
  27       reasonably be segregated from the employer’s general assets."
  28             40.     On "public works" as defined by California Labor Code § 1720, the
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    1      EMPLOYER was required to pay a minimum "prevailing" or "per diem" wage,
    2      including amounts which could either be paid directly on the weekly paycheck to
    3      employees, or contributed as "employer payments" (as defined in Labor Code
    4      § 1773.1) which includes payments to the TRUST FUNDS. The EMPLOYER
    5      employed workers on such public works, also covered by the AGREEMENTS, and
    6      certified under penalty of perjury (pursuant to Labor Code § 1776) that a portion of the
    7      required prevailing wage due such employees would be withheld from their per diem
    8      weekly wage and instead contributed to the TRUST FUNDS, in satisfaction of the
    9      prevailing wage required law. The U.S. Department of Labor has taken the position that
  10       such amounts are "amounts that a participant has withheld from his wages by an
  11       employer, for contribution" to the TRUST FUNDS, which become assets of the TRUST
  12       FUNDS within the meaning of 29 C.F.R. § 2510.3-102, "as of the earliest date on which
  13       such contributions . . . can reasonably be segregated from the employer’s general assets."
  14             41.     Plaintiff is informed and believes that, instead of turning over VACATION
  15       FUND contributions and the portions of the prevailing wage the EMPLOYER was
  16       required to be paid to the TRUST FUNDS from employees’ weekly paychecks, that
  17       EMPLOYER, MARTINEZ and/or DOE 1 to DOE 5, inclusive, kept those amounts for
  18       their own use, and did not segregate or turn them over to the TRUST FUNDS.
  19             42.     Plaintiff is informed and believes that EMPLOYER performed work on
  20       projects that included public works projects on which prevailing wages were required to
  21       be paid to employees, and which required certified payroll records to be completed
  22       relating to the employees’ work on the projects.
  23             43.     Plaintiff is informed and believe that MARTINEZ and/or DOE 1 to DOE
  24       5, inclusive, are the persons responsible for preparing and issuing certified payroll
  25       reports on EMPLOYER’s public works projects under Labor Code § 1776, and were
  26       responsible for the certification that such amounts would be paid to the TRUST FUNDS
  27       as part of the prevailing wage obligation.
  28             44.     Plaintiff is further informed and believes that MARTINEZ and/or DOE 1
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    1      to DOE 5, inclusive, had discretionary authority or control over sufficient, segregable
    2      funds to pay the amounts that would be withheld from employees’ weekly wages for
    3      contribution to the TRUST FUNDS in order to meet prevailing wage obligations,
    4      including the authority to write checks on the accounts in which such funds were held,
    5      but instead kept them for his own use, or for the use of the EMPLOYER.
    6             45.     By their discretionary authority or control over the management or
    7      disposition of assets of the TRUST FUNDS, specifically the VACATION FUND as well
    8      as the fringe benefit component of prevailing wages on public works (MONTHLY
    9      CONTRIBUTIONS) described above, EMPLOYER, MARTINEZ and/or DOE 1 to
  10       DOE 5, inclusive, are fiduciaries of the TRUST FUNDS within the meaning of section
  11       3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A).
  12              46.     The amount of the delinquent MONTHLY CONTRIBUTIONS referenced
  13       herein above relating to public works projects including the VACATION FUND were
  14       and still are due and owing to the TRUST FUNDS and are assets of the TRUST FUNDS
  15       within the meaning 29 U.S.C. §§ 1001-1003, 1021-1031, 1111-1114 and 18 U.S.C. §
  16       664. The known MONTHLY CONTRIBUTIONS, including VACATION FUND
  17       amounts total at least $47,808.96; however, all MONTHLY CONTRIBUTIONS
  18       referenced herein above will be proven at the time of trial or other hearing, plus interest
  19       at the plan rate(s).
  20              47.     Plaintiff is informed and believes and thereupon alleges that by failing to
  21       timely account for and turn over the assets of the TRUST FUNDS described above, by
  22       failing to apply such assets for the exclusive benefit of participants and beneficiaries of
  23       the TRUST FUNDS, and instead using those assets for their own benefit, EMPLOYER,
  24       MARTINEZ and/or DOE 1 to DOE 5, inclusive, breached their fiduciary duties to the
  25       TRUST FUNDS within the meaning of sections 404(a)(1)(A), (B) and (D), of ERISA,
  26       29 U.S.C. §§ 1104(a)(1)(A), (B) and (D).
  27              48.     Plaintiff is informed and believes and thereon alleges that the acts and
  28       omissions to act by EMPLOYER, MARTINEZ and/or DOE 1 to DOE 5, inclusive,
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    1      constitute misuse, misappropriation and/or conversion from employee benefit plans
    2      within the meaning of 18 U.S.C. § 664 and breach of their fiduciary obligations within
    3      the meaning of 29 U.S.C. § 1104 through §1106.
    4            49.     Pursuant to § 409 of ERISA, 29 U.S.C. § 1109, MARTINEZ and/or DOE
    5      1 to DOE 5, inclusive, and EMPLOYER are personally liable to make good to the
    6      TRUST FUNDS any losses to them resulting from each such breach of their fiduciary
    7      duties, and to restore to the TRUST FUNDS any profits which have been made through
    8      their use of these assets of the TRUST FUNDS. Plaintiff seeks an accounting from
    9      EMPLOYER, MARTINEZ and/or DOE 1 to DOE 5, inclusive, of the amount and
  10       disposition of these assets.
  11             50.     Plaintiff requests that it be awarded its costs and reasonable attorney's fees
  12       pursuant to § 502(g)(1) of ERISA, 29 U.S.C. § 1132(g)(1), and such other remedies as
  13       may be available pursuant to ERISA §§ 409(a) and 502(a)(2), 29 U.S.C. §§ 1109(a) and
  14       1132(a)(2).
  15

  16                                      FOURTH CLAIM FOR RELIEF
  17                         FOR MONETARY DAMAGES FOR BREACH OF
  18                                      SETTLEMENT AGREEMENT
  19                             (AGAINST EMPLOYER and MARTINEZ)
  20

  21             51.     Plaintiff realleges and incorporates herein by reference each and every
  22       allegation contained in paragraphs 1 through 35, inclusive, as though fully set forth
  23       herein.
  24             52.     The TRUST FUNDS, the EMPLOYER and MARTINEZ entered into a
  25       conditional settlement ("SETTLEMENT AGREEMENT") with respect to the known
  26       amounts owed by EMPLOYER on MONTHLY REPORTS and audit findings for time
  27       periods from February 2019 to October 2019 which totaled $96,403.31 within interest
  28       through November 7, 2019 ("CLAIM"). In and by the terms of the SETTLEMENT
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    1      AGREEMENT, the TRUST FUNDS agreed to a payment arrangement with
    2      EMPLOYER and MARTINEZ upon compliance with express conditions set forth in the
    3      SETTLEMENT AGREEMENT.
    4            53.    Under the express terms of the SETTLEMENT AGREEMENT, the
    5      following constitutes a default and/or breach of the SETTLEMENT AGREEMENT by
    6      EMPLOYER and MARTINEZ: (1) failure to timely remit payment of the monthly
    7      payments as provided for by the terms of the SETTLEMENT AGREEMENT; (2) failure
    8      to comply with EMPLOYER’s obligations under the terms of the AGREEMENTS to
    9      timely submit MONTHLY REPORTS disclosing all of the hours worked by employees
  10       for which MONTHLY CONTRIBUTIONS are due with payment of the MONTHLY
  11       CONTRIBUTIONS due; and (3) failure to comply fully with an audit of EMPLOYER’s
  12       records.
  13             54.    The EMPLOYER breached the SETTLEMENT AGREEMENT by failing
  14       (1) to submit the monthly payments due under the provisions of the SETTLEMENT
  15       AGREEMENT; (2) by submitting its October 2019 and November 2019 MONTHLY
  16       REPORTS with payments returned by the bank upon which they were drawn; and (3) to
  17       submit its December 2019 MONTHLY REPORT in accordance with the terms of the
  18       AGREEMENTS and SETTLEMENT AGREEMENT.
  19             55.    EMPLOYER and MARTINEZ, individually, jointly and severally agreed
  20       to be liable for the entire CLAIM, ($96,403.31) plus interest at the plan rate(s) due under
  21       the terms of the SETTLEMENT AGREEMENT in consideration of the payment
  22       arrangement and for a reduced amount to satisfy the total amount due under the terms of
  23       the SETTLEMENT AGREEMENT if successfully completed.
  24             56.    As a result of the EMPLOYER’s and MARTINEZ’s breach of the
  25       SETTLEMENT AGREEMENT the conditions in the SETTLEMENT AGREEMENT
  26       were not met and the SETTLEMENT AGREEMENT does not bar collection of any
  27       unsatisfied amounts of that delinquency by any lawful means; therefore, under the terms
  28       of the SETTLEMENT AGREEMENT, the full amount of the CLAIM, upon breach,
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    1      became immediately due and owing by the EMPLOYER and by MARTINEZ to the
    2      TRUST FUNDS, plus interest at the TRUST FUNDS' plan rate(s). The amount due by
    3      the EMPLOYER and MARTINEZ for their breach of the SETTLEMENT
    4      AGREEMENT is $81,171.68 with interest to January 20, 2020 plus additional interest
    5      thereafter which has and will continue to accrue at the plan rate(s) until fully paid. Any
    6      and all conditions to the EMPLOYER's obligations under the SETTLEMENT
    7      AGREEMENT to pay this amount have been met.
    8            57.     Under the terms of the SETTLEMENT AGREEMENT, Plaintiff is entitled
    9      to an award of its attorneys’ fees and costs.
  10

  11                                     FIFTH CLAIM FOR RELIEF
  12                                (Against ACIC for Monetary Damages
  13                                Through Enforcement of License Bond)
  14

  15             58.     Plaintiff repeats, realleges and incorporates by reference each and every
  16       allegation contained in paragraphs 1 through 29 above as if fully set forth herein.
  17             59.     Pursuant to various provisions of the Business and Professions Code,
  18       EMPLOYER obtained from Defendant, ACIC, bond number SC 954162 through its
  19       qualifying employee, Jose Casas Martinez ("LICENSE BOND") and filed the LICENSE
  20       BOND with the Registrar of the California State Contractors License Board in the penal
  21       sum as required by statute and in favor of the State of California.
  22             60.     TRUST FUNDS, as assignee of the various laborers' claims for recovery of
  23       the benefit portion of their wages, falls within the class or classes of claimants as set
  24       forth in California Business and Professions Code §§ 7071.5, 7071.10 and Civil Code §
  25       8024(b), and is a beneficiary of the LICENSE BOND.
  26             61.     Pursuant to the terms of its bonds, and provisions of California Business
  27       and Professions Code, ACIC is responsible for paying up to the penal sum of said
  28       LICENSE BOND or at least $4,000.00 to the TRUST FUNDS for the unpaid
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    1      MONTHLY CONTRIBUTIONS owed on behalf of EMPLOYER’s employees.
    2            62.    Plaintiff submitted a claim to ACIC against its LICENSE BOND issued to
    3      EMPLOYER for MONTHLY CONTRIBUTIONS (“BOND CLAIM”); however,
    4      Defendant, ACIC has not paid the BOND CLAIM as required by the above-referenced
    5      statutes, and, upon information and belief, the terms of the LICENSE BOND.
    6            63.    Plaintiff brings this claim for relief on behalf of the TRUST FUNDS under
    7      Business and Professions Code § 7071.11(c)(1) to enforce the terms of the LICENSE
    8      BOND to recover a portion of the amount due by the EMPLOYER to the TRUST
    9      FUNDS.
  10

  11             WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
  12

  13                        FOR PLAINTIFF’S FIRST CLAIM FOR RELIEF
  14             1.     For the sum of $47,808.96, for delinquent fringe benefit MONTHLY
  15       CONTRIBUTIONS pursuant to the AGREEMENTS and 29 U.S.C. § 1132(g)(2)(A);
  16             2.     Interest on the delinquent MONTHLY CONTRIBUTIONS in the amount
  17       of $3,060.70 through June 18, 2018, as required by the AGREEMENTS and pursuant to
  18       29 U.S.C. § 1132(g)(2)(B), plus additional accrued interest at the plan rate(s);
  19             3.     For liquidated damages in the sum of $43,577.07 as required by the
  20       AGREEMENTS and 29 U.S.C. § 1132(g)(2)(C);
  21             4.     For returned check fees in the sum of $70.00;
  22             5.     For Plaintiff’s costs of audit in the sum of $1,000.00 in accordance with
  23       the AGREEMENTS and 29 U.S.C. § 1132(g)(2)(E);
  24             6.     For any additional amounts including MONTHLY CONTRIBUTIONS,
  25       liquidated damages, audit fees, fees/costs incurred by the TRUST FUNDS as a result of
  26       the submission of checks not honored by the bank upon which they were drawn, and
  27       amounts owed as a result work performed by any subcontractors of the EMPLOYER
  28       (or lower-tier subcontractors) determined to be due, plus interest at the plan rate(s)
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    1      currently 7.25% pursuant to the AGREEMENTS and 29 U.S.C. §§ 1132(g)(2) and
    2      1145, according to proof at the time of trial and/or other hearing.
    3             7.     For reasonable attorney fees and costs of suit as required by the
    4      AGREEMENTS and 29 U.S.C. § 1132(g)(2)(D);
    5             8.     For such other and further relief as the Court deems proper.
    6

    7                      FOR PLAINTIFF'S SECOND CLAIM FOR RELIEF
    8             1.     That this Court issue the following preliminary and permanent prohibitory
    9      and mandatory injunctions against EMPLOYER, MARTINEZ, DOE 1 through DOE 5,
  10       inclusive, and EMPLOYER’s managing officers, agents, managing employees,
  11       successors, assigns, and all those in active concert or participation with EMPLOYER:
  12                     1.1.   That EMPLOYER be ordered to deliver the following, or cause to
  13       be delivered, to the TRUST FUNDS' offices no later than 4:30 p.m., on the 20th day of
  14       each month for the duration of the AGREEMENTS:
  15                     1.2.   A complete, truthful and accurate "Employers Monthly Report to
  16       Trustees" covering all employees which EMPLOYER employed who were covered by
  17       the AGREEMENTS commencing with EMPLOYER’s December 2019 report;
  18                     1.3.   An affidavit or declaration from a responsible officer of
  19       EMPLOYER and/or MARTINEZ attesting from his or her own personal knowledge
  20       under pain of perjury to the completeness, truthfulness and accuracy of the Employers
  21       Monthly Report to the Trustees; and
  22                     1.4.   A cashier's check made payable to the Construction Laborers Trust
  23       Funds for Southern California for the full amount of the MONTHLY
  24       CONTRIBUTIONS due on the MONTHLY REPORTS for each account for which a
  25       report is to be submitted.
  26              2.     For reasonable attorney's fees;
  27              3.     For costs of suit herein; and
  28              4.     For such other and further relief as the Court deems proper and just.
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    1                      FOR PLAINTIFF’S THIRD CLAIM FOR RELIEF
    2            1.     For personal liability of EMPLOYER, MARTINEZ and DOE 1 through
    3      DOE 5 inclusive for their breaches of fiduciary duty, pursuant to ERISA § 409(a), 29
    4      U.S.C. § 1109(a) according to proof at the time of trial or other hearing;
    5            2.     For an accounting of all assets of the TRUST FUNDS which have not been
    6      turned over to the TRUST FUNDS, and any profits derived by EMPLOYER,
    7      MARTINEZ and DOE 1 through DOE 5 i therefrom according to proof at the time of
    8      trial or other hearing;
    9            3.     For damages, including MONTHLY CONTRIBUTIONS, liquidated
  10       damages, returned check fees and audit fees in the sum of $982,456.03 owed by
  11       EMPLOYER, plus additional amounts according to proof at the time of trial or other
  12       hearing;
  13             4.     For interest on the amounts owed by EMPLOYER, MARTINEZ and DOE
  14       1 through DOE 5 in the sum of $3,060.70 plus additional accrued interest at the plan
  15       rate(s) currently 7.25% per annum after January 20, 2020.
  16             5.     For reasonable attorneys' fees and costs of suit pursuant to § 502(g)(1) of
  17       ERISA, 29 U.S.C. § 1132(g)(1); and
  18             6.     For such other and further relief as the Court deems proper and just,
  19       pursuant to ERISA §§ 409(a) and 502(a)(2), 29 U.S.C. §§ 1109(a) and 1132(a)(2).
  20

  21                       FOR PLAINTIFF'S FOURTH CLAIM FOR RELIEF
  22             1.     For $81,171.68 pursuant to the SETTLEMENT AGREEMENT and
  23       applicable law, including but not limited to California Civil Code § 3302;
  24             2.     For an additional accrued interest at the TRUST FUNDS' plan rate(s),
  25       currently 7.250% per annum after January 20, 2020, pursuant to terms of the
  26       SETTLEMENT AGREEMENT and applicable law, including but not limited to
  27       California Civil Code §§ 3287, 3289 and 3302.
  28             3.     For attorneys’ fees and costs of collection, pursuant to the SETTLEMENT
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    1      AGREEMENT and applicable law, including but not limited to California Civil
    2      Procedure Code § 1032(b) and California Civil Code § 1717.
    3            4.     For such other relief that this Court deems appropriate, pursuant to any
    4      authority of the Court, including, but not limited to, the authority established by
    5      29 U.S.C. §§ 1132(g)(2)(E) and 1132 (a)(3)(B).
    6

    7                       FOR PLAINTIFF’S FIFTH CLAIM FOR RELIEF
    8            1.     For enforcement of the LICENSE BOND issued by ACIC pursuant to
    9      California Business and Professions Code §§ 7071.5(e) and 7071.11(a).
  10             2.     For up to the penal sum of the LICENSE BOND, or at least $4,000.00 plus
  11       interest at the rate or rates required by law, including California Labor Code § 218.6,
  12       from the respective days the MONTHLY CONTRIBUTIONS providing the basis for
  13       the BOND CLAIM became due.
  14             3.     For reasonable attorneys’ fees and costs.
  15             4.     For such other relief that this Court deems appropriate.
  16

  17                                               Respectfully Submitted,
  18       DATED: January 30, 2020                 ALEXANDER B. CVITAN,
                                                   MARSHA M. HAMASAKI, and
  19                                               PETER A. HUTCHINSON of
                                                   REICH, ADELL & CVITAN
  20                                               A Professional Law Corporation
  21

  22                                               By      /s/ Marsha M. Hamasaki
                                                        MARSHA M. HAMASAKI
  23                                                    Attorneys for Plaintiff
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